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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION



UNITED STATES OF AMERICA                                                                  PLAINTIFF

v.                                Case No. 06-50054-001and 002

BAUDILIO CASTILLO and DONIS CASTILLO                                                  DEFENDANTS



             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       On December 5, 2006, a hearing was conducted pursuant to Fed. R. Crim. P. 44(c) regarding

the joint representation of the defendants Baudilio Castillo and Donis Castillo, who are brothers, by

their retained attorney, William Blair Brady.

       At the hearing, the court explained the substance of Rule 44(c) and the defendants were

advised of the right to effective assistance of counsel, including separate representation. Defendants

were further advised of the potential for conflict when two or more defendants are represented by

the same attorney and of the potential dangers of representation by counsel with a conflict of interest.

       Mr. Brady advised the court that prior to the hearing he had conferred on several occasions

with the defendants regarding their right to separate counsel and that, after considering the matter

in depth, he and the defendants had determined that there was no conflict of interest requiring

separate counsel. Mr. Brady explained that defendants have no varying defenses and that they are

unified in a belief that neither of them has done wrong. Further, if found guilty, there would be no

reason for varying arguments about the degree of participation. Defendants assented to Mr. Brady’s

assertions and indicated that their waiver to the right to separate representation was knowing and

voluntary.
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       As there is good cause to believe no conflict of interest is likely to arise, I conclude that

further measures are unnecessary or appropriate to protect each defendants’s right to counsel.

Accordingly, I recommend that no further action be taken in this matter and that Mr. Brady be

allowed to continue to represent the defendants.

       The parties have ten days from receipt of the report and recommendation in which to

file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely objections

may result in waiver of the right to appeal questions of fact. The parties are reminded that

objections must be both timely and specific to trigger de novo review by the district court.

       DATED this 14th day of December 2006.




                                             /s/Beverly Stites Jones
                                             HON. BEVERLY STITES JONES
                                             UNITED STATES MAGISTRATE JUDGE




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